442 F.2d 1040
    UNITED STATES of America, Plaintiff-Appellee,v.James Garland MARSHALL, Defendant-Appellant.
    No. 31025 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    May 14, 1971.
    
      Appeal from the United States District Court for the Middle District of Florida; William A. McRae, Jr., Judge.
      Dennis J. Lanahan, Jr., Jacksonville, Fla., court appointed for defendant-appellant.
      John L. Briggs, U. S. Atty., Rudy Hernandez, Aaron K. Bordin, Asst. U. S. Attys., Jacksonville, Fla., Ronald H. Watson, Asst. U. S. Atty., Tampa, Fla., for plaintiff-appellee.
      Before JOHN R. BROWN, Chief Judge, and INGRAHAM and RONEY, Circuit Judges.
      PER CURIAM:
    
    Affirmed. See Local Rule 21.1
    
      
        Notes:
      
      
        *
         Rule 18, 5 Cir.; See Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409
      
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966
      
    
    